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                           UNITED STATES DISTRICT COURT
14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16    JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx) 
                                            )
17           Plaintiffs,                    )      UNOPPOSED APPLICATION FOR
18    - vs -                                )      LEAVE TO FILE SPECIAL MASTER
                                            )      CANDIDATE’S NAME AND
19    JEFFERSON B. SESSIONS, ATTORNEY       )      RESUME UNDER SEAL;
20    GENERAL OF THE UNITED STATES, et al., )      DECLARATION OF CLASS
                                            )      COUNSEL
21           Defendants.                    )
22                                      _ )        [HON. DOLLY M. GEE]
23
                                                   Hearing: N/A
24                                                 Time: N/A
25

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1

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1          This is an unopposed application seeking leave to file under seal the name and
2    entirety of the resume of a Special Master candidate who wishes to remain unnamed so
3
     as to protect her identity. As required by Local Rule 79-5.2.2(a), Plaintiffs submit
4

5    concurrently with this application the declaration of Class Counsel, Peter Schey, a
6
     proposed Order, and an unredacted version of the candidate’s resume (“Exhibit A”).
7
     Counsel for Plaintiffs and Defendants have conferred and Defendants’ do not oppose
8

9    the candidate’s name and Exhibit A being filed under seal.
10
     Dated: August 24, 2018                 Respectfully submitted,
11
                                            CENTER FOR HUMAN RIGHTS &
12
                                            CONSTITUTIONAL LAW
13                                          Peter A. Schey
                                            Carlos Holguín
14

15                                          ORRICK, HERRINGTON & SUTCLIFFE LLP
                                            Elena García
16
                                            LA RAZA CENTRO LEGAL, INC.
17
                                            Michael Sorgen
18
                                            LAW FOUNDATION OF SILICON VALLEY -
19
                                            LEGAL ADVOCATES FOR CHILDREN & YOUTH
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                                            Annette Kirkham
22
                                            Of counsel:
23
                                            YOUTH LAW CENTER
24
                                            Virginia Corrigan
25
                                            /s/Peter Schey _____________
26
                                            Attorneys for Plaintiffs
27   ///
28

     PLAINTIFFS’ APPLICATION FOR                 1
     LEAVE TO FILE UNDER SEAL                              CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 478 Filed 08/24/18 Page 4 of 4 Page ID #:24602


1                                    CERTIFICATE OF SERVICE
2          I, Peter Schey, declare and say as follows:
3
           I am over the age of eighteen years of age and am a party to this action. I am
4

5    employed in the County of Los Angeles, State of California. My business address is
6
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
7

8          On August 24, 2018, I electronically filed the following document(s):

9          UNOPPOSED APPLICATION FOR LEAVE TO FILE SPECIAL MASTER
10         CANDIDATE’S NAME AND RESUME UNDER SEAL

11   with the United States District Court, Central District of California by using the
12
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
13

14   served by the CM/ECF system.

15                                                   /s/Peter Schey
16                                                   Attorney for Plaintiffs

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     PLAINTIFFS’ APPLICATION FOR                 2
     LEAVE TO FILE UNDER SEAL                                 CV 85-4544-DMG (AGRX)
